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11   Attorneys for Plaintiff Mariano Benitez
     and the Classes
12
13                        UNITED STATES DISTRICT COURT

14        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

15
16   Mariano Benitez, individually and on         Case No. 8:19-CV-00098-JLS-DFM
17   behalf of all others similarly situated,
                                                  JOINT STIPULATION TO EXTEND
18                                                ALL REMAINING DEADLINES
                               Plaintiff,
19
                                                  Hon. Josephine L. Staton
     v.
20
                                                  Complaint filed: January 21, 2019
21   Powerline Funding, LLC, a New York
     Limited Liability Company,
22
23                             Defendant.
24
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26
27
     JOINT STIPULATION TO EXTEND ALL        -1-
28   REMAINING DEADLINES
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 1          Plaintiff Mariano Benitez (“Plaintiff” or “Benitez”) and Defendant Powerline
 2   Funding, LLC (“Defendant” or “Powerline”), through their respective counsel,
 3   hereby stipulate as follows:
 4                                        RECITALS
 5          WHEREAS, on January 21, 2019, Plaintiff filed his complaint in this matter in
 6   the United States District Court, Central District of California (the “Complaint”);
 7          WHEREAS, on January 24, 2019, Powerline was served with a copy of the
 8   Complaint and summons, which placed its deadline for responding to the Complaint
 9   on February 14, 2019.
10          WHEREAS, on February 14, 2019 and later on March 4, 2019, Plaintiff’s
11   counsel stipulated to two extensions of the time to respond to the Complaint to allow
12   Powerline’s initial counsel to adequately respond to Plaintiff’s Complaint, and to
13   explore the possibility for settlement. (Dkts. 13, 17.) The Court granted both
14   extensions, which required Powerline to answer or otherwise respond on or before
15   March 18, 2019. (Dkts. 16, 18.)
16          WHEREAS, following the appearance of Alan Ritchie, Powerline’s second
17   attorney, counsel for Plaintiff agreed to two additional extensions to allow Mr.
18   Ritchie time to review the allegations and for the Parties to continue discussing the
19   potential for settlement. (Dkts. 21, 26) The Court granted both extensions, which
20   required Powerline to answer or otherwise respond on or before April 29, 2019.
21   (Dkts. 22, 27.)
22          WHEREAS, on April 29, 2019, Powerline filed its Motion to Dismiss for
23   Lack of Jurisdiction. (Dkt. 28.)
24          WHEREAS, on June 6, 2019, following full briefing on the Motion to
25   Dismiss, the Court issued its Order denying Powerline’s Motion to Dismiss. (Dkt.
26   33.)
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     JOINT STIPULATION TO EXTEND ALL       -2-
28   REMAINING DEADLINES
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 1         WHEREAS, on June 7, 2019, the Parties filed their Joint Case Management
 2   Statement. (Dkt. 34.)
 3         WHEREAS, on June 19, 2019, the Court issued its Scheduling Order which
 4   set the following deadlines:
 5          •     Last Day to File a Motion to Add Parties and Amend Pleadings: August
 6                20, 2019;
 7          •     Fact Discovery Cut-off: February 28, 2020;
 8          •     Last Day to File Motion for Class Certification: March 13, 2020;
 9          •     Last Day to File Motions (excluding Daubert Motions and all other
10                Motions in Limine): March 13, 2020;
11          •     Last Day to Serve Initial Expert Reports: March 13, 2020;
12          •     Last Day to Serve Rebuttal Expert Reports: April 10, 2020;
13          •     Last Day to File Opposition to Motion for Class Certification: April 10,
14                2020;
15          •     Last Day to File Reply in Support of Motion for Class Certification:
16                April 24, 2020;
17          •     Last Day to Conduct Settlement Proceedings: May 1, 2020;
18          •     Expert Discovery Cut-off: May 8, 2020;
19          •     Last Day to File Daubert Motions: May 15, 2020;
20          •     Last Day to File Motions in Limine (excluding Daubert motions): June
21                5, 2020; and
22          •     Final Pretrial Conference (10:30 a.m.): July 10, 2020.
23   (Dkt. 37.)
24         WHEREAS, on June 21, 2019, Plaintiff served his first set of discovery
25   requests upon Powerline—including interrogatories and requests for the production
26   of documents.
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     JOINT STIPULATION TO EXTEND ALL      -3-
28   REMAINING DEADLINES
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 1         WHEREAS, following discussions with Powerline’s attorney, Alan Ritchie,
 2   and his representation that he intended to withdraw as Powerline’s attorney, counsel
 3   agreed to another extension of the deadline to file its Answer until July 12, 2019 to
 4   allow Powerline suitable time to find and retain new counsel (dkt. 42), which was
 5   granted on June 25, 2019 (dkt. 44). At the same time, Plaintiff agreed to multiple
 6   extensions of the deadline for Powerline to respond to Plaintiff’s discovery requests.
 7         WHEREAS, on August 7, 2019, the Parties agreed to an extension of the
 8   deadline to file motions to add parties and amend pleadings until October 1, 2019.
 9   (Dkt. 47.) The additional time would allow Powerline to serve responses to
10   discovery following the appearance of its new counsel, and also to allow Plaintiff’s
11   counsel sufficient time to review Powerline’s discovery responses prior to the
12   expiration of the deadline to file motions to add parties and amend pleadings.
13         WHEREAS, on September 11, 2019, this Court approved Powerline’s Request
14   for Approval of Substitution of Counsel. (Dkt. 55.)
15         WHEREAS, on September 12, 2019, Powerline’s current counsel, Ingrid M.
16   Rainey, filed her notice of appearance on behalf of Powerline. (Dkt. 56.)
17         WHEREAS, Powerline’s current counsel reached out to Plaintiff’s counsel to
18   request an extension of the deadline to respond to Plaintiff’s discovery requests.
19   Powerline’s current counsel has informed Plaintiff that its prior counsel did not spent
20   any time working on the discovery responses. Further, Powerline’s current counsel is
21   in the process of getting up to speed on the case.
22         WHEREAS, Plaintiff’s counsel appreciates that Ms. Rainey needs time to
23   review the case and adequately respond to Plaintiff’s discovery requests. However,
24   Plaintiff is also cognizant that he cannot continue to grant extensions to his own
25   detriment.
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     JOINT STIPULATION TO EXTEND ALL       -4-
28   REMAINING DEADLINES
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 1             WHEREAS, the Parties are in mutual agreement that a three-month extension
 2   of all remaining deadlines is necessary. The extension will allow Powerline’s new
 3   counsel time to familiarize herself with the case. Further, the extension will allow
 4   both Parties adequate time to engage in discovery without prejudicing either Parties’
 5   rights.
 6             WHEREAS, the extension is not being sought for any improper purpose and
 7   will not disrupt any other deadline.
 8             WHEREAS, the Parties propose the following deadlines:
 9             •    Last Day to File a Motion to Add Parties and Amend Pleadings: January
10                  3, 2020;
11             •    Fact Discovery Cut-off: May 29, 2020;
12             •    Last Day to File Motion for Class Certification: June 12, 2020;
13             •    Last Day to File Motions (excluding Daubert Motions and all other
14                  Motions in Limine): June 12, 2020;
15             •    Last Day to Serve Initial Expert Reports: June 12, 2020;
16             •    Last Day to Serve Rebuttal Expert Reports: July 10, 2020;
17             •    Last Day to File Opposition to Motion for Class Certification: July 10,
18                  2020;
19             •    Last Day to File Reply in Support of Motion for Class Certification:
20                  July 24, 2020;
21             •    Last Day to Conduct Settlement Proceedings: July 31, 2020;
22             •    Expert Discovery Cut-off: August 7, 2020;
23             •    Last Day to File Daubert Motions: August 14, 2020;
24             •    Last Day to File Motions in Limine (excluding Daubert motions):
25                  September 4, 2020; and
26             •    Final Pretrial Conference (10:30 a.m.): October 9, 2020.
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     JOINT STIPULATION TO EXTEND ALL         -5-
28   REMAINING DEADLINES
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 1                                      STIPULATION
 2         IT IS HEREBY STIPULATED, by and between the parties to this action,
 3   through their respective attorneys of record, as follows:
 4         1.     All remaining deadlines shall be extended by three (3) months.
 5
 6   Dated: October 1, 2019                 By:    /s/ Taylor T. Smith
 7                                          Aaron D. Aftergood (239853)
 8                                          THE AFTERGOOD LAW FIRM
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 9                                          Los Angeles, CA 90067
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16                                          *Pro Hac Vice

17                                          Attorney for Plaintiff Mariano Benitez
                                            and the Classes
18
19   Dated: October 1, 2019                 By: /s/ Ingrid M. Rainey
20
                                            Ingrid M. Rainey
21                                            Ingrid@raineylawpc.com
22                                          Rainey Law PC
                                            16870 West Bernardo Drive, Suite 400
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25
                                            Attorney for Defendant Powerline Funding,
26                                          LLC
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     JOINT STIPULATION TO EXTEND ALL       -6-
28   REMAINING DEADLINES
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 1                            SIGNATURE CERTIFICATION
 2
           Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that Defendant’s
 3
     counsel concurs with the content of this document and has authorized me to affix her
 4
     signature to the document and file the same with the Court.
 5
 6                                                 /s/ Taylor T. Smith

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 8
 9                              CERTIFICATE OF SERVICE

10         Taylor T. Smith, an attorney, certifies that on October 1, 2019, he
11   electronically filed the foregoing with the Clerk of the Court by using the CM/ECF
12
     system, which will send a notice of electronic filing to all attorneys of record.
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14                                                 /s/ Taylor T. Smith
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     JOINT STIPULATION TO EXTEND ALL       -7-
28   REMAINING DEADLINES
